                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 PROGRESSIVE HAWAII                            )
 INSURANCE CORPORATION,                        )
                                               )
       Plaintiff,                              )
                                               )
 vs.                                           ) Civil Action No. 3:12-cv-00574
                                               )
 NAKIA DAVIS, XAVIER BINGHAM,                  )
 RYAN WESTBROOK, ESTATE OF                     )
 JUSTIN WALKER,                                )
 JAMES A. RUSSELL, ANGELIC                     )
 HODGE, and                                    )
 ALLSTATE INSURANCE COMPANY,                   )
                                               )
       Defendants.

                          MOTION FOR SUBSTITUTION OF PARTY

        Comes the Plaintiff, by and through counsel, pursuant to Rule 25 of the Federal Rules of

 Civil Procedure and moves this honorable Court for entry of an order substituting Gerald Gulley,

 Administrator Ad Litem for the Estate of Xavier C. Bingham for Xavier C. Bingham.

        In support of its motion, Progressive Hawaii Insurance Corporation states that a Suggestion

 of Death was filed upon the record of this Court concerning the death of Xavier C. Bingham. An

 Order Appointing Administrator Ad Litem has been entered by the probate court for Knox County,

 Tennessee In Re: Estate of Xavier C. Bingham, docket no.: 73453-3, appointing Gerald Gulley as

 Administrator Ad Litem for the Estate of Xavier C. Bingham.

        WHEREFORE, the Plaintiff moves this honorable Court for entry of an order substituting

 Gerald Gulley, Administrator Ad Litem for the Estate of Xavier C. Bingham for Xavier C Bingham,

 deceased accordingly.




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                                        Respectfully submitted,

                                        TRAMMELL, ADKINS & WARD, P.C.



                                        s/      Terrill L. Adkins
                                                Terrill L. Adkins, BPR #013138
                                                Attorney for Plaintiff
                                                P.O. Box 51450
                                                Knoxville, Tennessee 37950
                                                865/330-2577




                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 23, 2013, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent by operation of the court’s electronic filing
 system to all parties indicated on the electronic filing receipt. All other parties will be served by
 regular U.S. mail. Parties may access this filing through the court’s electronic filing system.

                                        TRAMMELL, ADKINS & WARD, P.C.


                                        s/      Terrill L. Adkins
                                                Terrill L. Adkins




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